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Pro Se 1 (Rev- 12/16)Complaint for a Civil Case



 FILED - USDC -NH                      United States District Court
 2022 NOO 3 ph3:53                                                    for the

                                                       District ofNew Hampshire

                                                                            Division



               Corey Cutting Jordan-Rutledge                            )       Case No.
                                                                        )                   (lo befilled in by the Clerk's Office)
                                                                        )
                             Plaintiff(s)                               )
(Write thefull name ofeach plaintiffwho isfiling this complaint.        )                                                No
Ifthe names ofall the plaintiffs cannotfit in the space above,                  Jury Trial: (check one) ^ Yes
please write “see attached" in the space and attach an additional       )
page with thefull list ofnames.)                                        )
                                -V-                                     )
                                                                        )
            Liberty Mutual insurance Company
                                                                        )
                                                                        )
                                                                        )
                           Defendant(s)
                                                                        )
(Write thefiill name ofeach defendant who is being sued. Ifthe
names ofall the defendants cannotfit in the space above, please         )
write “see attached" in the space and attach an additional page         )
with thefull list ofnames.)



                                                  COMPLAINT FOR A CIVIL CASE

I.        The Parties to This Complaint
          A.         The PlaintitT(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.

                               Name
                                                                    Corey Cutting Jordan-Rutledge
                               Street Address                       32 Cromwell Street

                               City and County                      Kittery, York County
                               State and Zip Code                   ME,03904
                               Telephone Number                   (207)-208-9219
                               E-mail Address                       warpousa@aim.com


          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (ifknown). Attach additional pages if needed.


                                                                                                                                     Page 1 of 5
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^roSel^^vM2/16|^m£laintforaCivHC^e

               Defendant No. 1

                       Name
                                                  Liberty Mutual Insurance Company
                       Job or Title (ifknown)     (Registered Business Agent Address for NH - Concord Corp.Servg
                       Street Address
                                                  10 Ferry Street, Suite 313
                       City and County            Concord, Merrimack County
                       State and Zip Code         NH 03301

                       Telephone Number           (800)927-9800 (Registered Agent) \ (603)749-4418 (Dover. NH Q
                       E-mail Address (ifknown)   csrcorrtact@cscinfo.com (Registered Agent)[ subpin@libertymu^


               Defendant No. 2

                       Name

                       Job or Title (ifknown)
                       Street Address

                       City and County
                       State and Zip Code

                       Telephone Number

                       E-mail Address (ifknown)


               Defendant No. 3

                       Name

                       Job or Title (ifknown)
                       Street Address

                       City and County

                       State and Zip Code
                       Telephone Number

                       E-mail Address (ifknown)


               Defendant No. 4
                       Name

                       Job or Title (ifknown)
                       Street Address

                       City and County

                       State and Zip Code
                       Telephone Number

                       E-mail Address (ifknown)




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II.   Basis for Jurisdiction


      Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
      heard in federal court: cases involving a federal question and cases involving diversity of citizenship ofthe
      parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
      is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen ofone State sues a citizen of
      another State or nation and the amount at stake is more than $75,000 is a diversity ofcitizenship case. In a
      diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

      What is the basis for federal court jurisdiction? (check all that apply)
                Federal question                        V\ Diversity ofcitizenship



      Fill out the paragraphs in this section that apply to this case.

      A.      If the Basis for Jurisdiction Is a Federal Question

              List the specific federal statutes, federal treaties, and/or provisions ofthe United States Constitution that
              are at issue in this case.




      B.      If the Basis for Jurisdiction Is Diversity of Citizenship

                       The Plaintitf(s)

                       a.       If the plaintiff is an individual

                                The plaintiff, (name) Corey Cutting Jordan-Rutledge                    ,is a citizen ofthe
                                State of(name) Maine


                       b.       If the plaintiff is a corporation
                                The plaintiff, (name)                                                  ,is incorporated
                                under the laws ofthe State of(name)

                                and has its principal place of business in the State of(name)




                      (Ifmore than one plaintiffis named in the complaint, attach an additional page providing the
                      same informationfor each additional plaintff )

              2.       The Defendant(s)

                       a.       If the defendant is an individual

                                The defendant, (name)                                                  ,is a citizen of
                                the State of(name)                                                . Or is a citizen of
                               (foreign nation)


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                                b.        If the defendant is a corporation
                                          The defendant, (name) Liberty M utual Insurance Company           ,is incorporated under
                                          the laws of the State of(name)      New Hampshire                            ,and has its

                                           principal place of business in the State of(name) Massachusetts
                                          Or is incorporated under the laws of(foreign nation)

                                          and has its principal place of business in (name)


                               (Ifmore than one defendant is named in the complaint, attach an additional page providing the
                               same informationfor each additional defendant.)

                     3.         The Amount in Controversy

                               The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                               stake-is more than $75,000, not counting interest and costs of court, because (explain):
                                 The total of backpay and compensatory damages would exceed the sum of $75,000, totaling
                                 between roughly $120,000 and $150,000.




III.      Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other reliefsought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

         ● Starting in July/August 2018, my former employer, Liberty Mutual Insurance Company neglectfully failed extend
         reasonable accommodations denying me the same treatment requested by me and my doctor, while at the same
         time, extending this very treatment for other employees working directly with me performing the same job duties.
         ● From July/August 2018, my former employer also encouraged an environment of discrimination and hostility
         towards myself as a “member of a protected class”, having asked for additional time to complete tasks(extended
         to other employees, but denied in my case); the above caused significant and lasting emotional distress for me
         and my family, necessitating compensatory damages (continued in attachment)
                                                                                                                                    □
IV.       Relief


          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.

         Per above, "...The total of backpay and compensatory damages would exceed the sum of $75,000, totaling
         between roughly $110,000 and $150,000..." That would be $30,000 in back pay while out of work, same amount
         of compensation for emotional distress, plus anywhere from $50,000 to $100,000 in punitive damages. As will be
         examined In evidence, Liberty Mutual, aware of my diagnosed language/leaming disability, willfully cites its own
         claims of verbal statements with no actual written record or recording of them ever having originated from my
         side. Contemptuous conduct by any reasonable standard! As a matter of perspective (without exploring legal
         arniimAnt^ in thfl             nf Tnhin u I ihprtv Mutual Insiiranre Cnmnanu tha niaintiff rTnhinWanaivpri .*R1     qyp irfl

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V.        Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint:(1)is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation;(2)is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law;(3)the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4)the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
                     in the dismissal of my case.


                     Date of signing:             11/03/2022

                                                         7
                     Signature of Plaintiff
                     Printed Name of Plaintiff     Corey Cutting Jordan-Rutledge


          B.         For Attorneys


                     Date ofsigning:



                     Signature of Attorney

                     Printed Name of Attorney
                     Bar Number

                    Name of Law Firm

                     Street Address

                     State and Zip Code
                     Telephone Number
                     E-mail Address




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Statement of Claim continued...

●      I am a person with disabilities (specifically mental impairments - Language-based Learning
Disorder and Attention Deficit Disorder, combined type); in early March, 2017,1 applied to work as a UI
Developer 80596 at Liberty M

utual Insurance Company and interviewed for the position (for which I possess tangible evidence); on
March 13,20171 was extended an offer of employment, however,the title and code for the job shifted to
“Software Developer 80594” on the electronic cover letter (it is revealed in my personnel file, this was
likely due to a human/clerical error on the part of Liberty Mutual);

 ●       Due to the clerical error, or “glitch”, role I started with was different than the job for which I
 applied; 1 attempted to sort out the issue with Human Resources, however, efforts proved moot due to a
 number ofjobs getting moved around or eliminated by July/Aug 2017; I, along with others, were assigned
to at least two different projects and teams in 2017, entailing having to physically move three times;
 despite the disruptions, I learned in January 2018, that I missed the score of8 out of 15 by just one point
(having earned a 7 out of a possible 15, where an 8 would have been satisfactory); my manager at the
time acknowledged the disruptions,and expressed support that I receive “coaching” in 2018; no action on
 my part is taken informing my former employer of a diagnosis of ADD/ADHD from many years ago (or
any other potential diagnoses), because at the time there was nothing about the job I was placed in to have
 me believe I would be evaluated specifically on my rate of learning, attention span or communicative
ability, however, by March of 2018, teams were realigned and reassigned a third time, and this time the
new role I was placed in differed even more than the first two roles I was placed in (where according to
documentation, I was apparently placed in the first role due to a “glitch”); in short order I was asked to
 perform technical tasks for which I had only received one week of training at the time, however, I was
soon thereafter working with an individual on a technical project performing the exact same work, but
 with a significant difference: the individual received continuous hands-on technical coaching for many
hours out ofthe day, but this was apparently not available to me; by June or July 2018 I received verbal
and written warnings that I would specifically need to “learn quickly” and by late July 2018 received
official diagnoses ofa Language-Based Learning Disorder(LBL)and ADD/ADHD (combined type)-
 with which I had already been diagnosed as a teenager; with no doubt as to the nature of my disability,
and at the request of my doctor via fax, I worked with Liberty Mutual’s ADA channel to get the same
technical coaching the other member on my team received (as well as that received by hundreds on other
teams), however, I would later learn that the new manager I’d been assigned had written back to the ADA
she “did not expect to have to teach” me how to code, apparently based on the job code assigned to me at
 my time of hiring from more than a year before(which was,in the first place, a glitch); in effect. Liberty
Mutual flouted protections and accommodations available to members of protected classes (enforceable
by the ADA)and made their own protected classes; to do so, Liberty Mutual assigned temporary job
codes to those whose previous job codes had been eliminated, effectively granting “temporary job codes”
to those performing my exact same essential job functions for nine months or longer before automatically
“converting” those individuals to either my job code or a job code in line with a more senior pay grade
(during which time, these individuals had dedicated technical coaches to help them “learn quickly' -as is
documented); Liberty Mutual ignored my doctor’s faxed requests(and my requests)for hands-on
coaching early in the process, only addressed requests such as “breaks”(already available to me and other
team members as “standard” treatment), while issuing performance warning and treating me unfavorably
compared to the individual sitting across from me literally performing the same job(who was coached,
while also paid a fulltime salary greater than mine)- during which time, I was subjected to verbal
harassment by certain members ofthe team for characteristics directly attributable to diagnosed
impairments, in addition to having to lose valuable work hours during the day on the phone with the
ADA;the individual working for Liberty Mutual in the ADA department claimed not to understand the
faxed requests for “hands-on training” and also implied this would not be possible - by January,2019,1
was again been issued a sub-standard performance review, citing issues with communication and an

                                                     1
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inability to “learn quickly” based on subjective team votes(which did not measure my ability to “learn”
on based on any specific quantitative criteria -and not every member necessarily felt I learned too slow);
by this time, Liberty Mutual had been long since aware of a diagnosed learning disability, had been
requested to extend the same treatment afforded to another team member(and hundreds of others), but
failed to do so; this is documented, and is in clear violation of Title 1 ofthe Americans with Disabilities
Act of 1990.

●        To create the appearance my doctor’s requests for coaching were granted, on January 31 st, an
email was sent making mention of words I allegedly used (which I deny),to have it appear double the
coaching and hands-on training I had asked for would be granted (entirely misleading, and
contemptuous), since I had already had to “haggle” by phone for six or seven months to get hands on
training by phone, while unable to get suitable coaching and training (subjected therefore to an inherently
inferior standard oftreatment to do the same job as colleagues doing performing the same essential
functions); no reasonable individual would believe an individual with known learning impairments placed
in the wrong role due to a clerical error(swept up in 3 corporate realignments and 3 further role shifts)
would require anything less than the same standard other individuals in the same or similar roles would
require anything less than was as extended to those without impairments- which was nine months of paid
coaching and three months of paid classroom training; no language ever originated from my side (or my
doctor’s side), requested only 30 days of training specifically; regardless of performance, past or present,
poor, fair or superior, any individual performing the same essential job duties as the person across from
them should have access to the same training opportunities- and in cases where individual as a “member
of a protected class based on a disability” asks for the same training, the protections of the law mandate
“reasonable accommodation”; as documented, I was treated as “inferior”, which Liberty Mutual has
attempted to justify based on transient/temporal “job codes” to lend the impression those getting coaching
had different jobs(which they “did” prior to realignment, however, this would have been irrelevant
starting the nine month period when they worked with me in a fulltime capacity doing the same work -
before automatically receiving what would have been my exact job code at the time, or a similar code
denoting a “Senior” version, without having to apply for a different role, but nevertheless able to enjoy
hands-on coaching before the “switch”); ultimately. Liberty Mutual didn’t honor its written “pledge” to
extend 30 days of hands-on coaching, due to illness ofother team members at the time, and well as a
serious illness I suffered while working(which caused a singular syncopal episode - fainting-and landed
me in the hospital); I received at most 5,6 or 7 formal hands-on “coaching” sessions, compared to nine
months of coaching enjoyed by other employees performing my essential job duties.

●       Liberty Mutual terminated my employment on March 19,2019 in Dover, NH,citing the reason as
“performance”; in the performance, characteristics adversely affected by mental impairments known to
my former employment are mentioned (specifically ability to learn and communicate); notwithstanding
the above, per New Hampshire Law,an employer does not need a reason to terminate per "Employment
at Will”; this is not a charge about termination with or without cause “per se”-the charge is that my
former employer failed to extend reasonable accommodations because it admittedly only offered 30 days
of hands-on training it its own words; if the standard for others performing the same or similar roles is
nine months, how then is 30 days oftraining a “reasonable accommodation” for individuals known to
suffer mental and learning impairments? That said, an aspect of the charge is that my foimer employer’s
decision to terminate was wrongful due to its failure to first extend “reasonable accommodations” since it
was more than knowledgeable concerning the nature of my diagnosed impairments.

●        Liberty Mutual Discrimination based on conditioning certain qualities of a “coding”job based on
written and verbal communication style known to be directly affected by impairments; whereas in the past
as in the present, I am able to maintain a similar “coding”jobs that do not directly evaluate or assign
“grades” to verbal and written communication or general ability to “learn quickly”(without defining
exactly what it is that needs to be quickly learned and accomplished); penalizing me for subjective criteria
not essential to core responsibilities ofa my role, went contrary to my doctor’s written instructions, but

                                                     2
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my former employer did not heed the fax and did so with impunity, in effect fostering a systemic culture
on-the-job discrimination and harassment, starting in the Summer of2018 and for the duration of my
tenure.

●        I have suffered and continue to suffer damages, including but not limited to, lost wages, lost
earning capacity, emotional distress, humiliation, inconvenience, and loss of enjoyment of life; I therefore
seek all damages to which I am entitled.




                                                     3
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  Early January 2017-            Aprfl/May 2017-OR                          August- December                             March 2018-GR                             August- December                         February 25,2019-               March 19,2019,
  Complainant/Plaintiff          learns job duties                          2017; CJR (and others)                       assigned to new team                      2018- Starting Aug,                      GR suffers singular             GR is discharged by
  (CJR)first applies for         expected by LM differ                      are reassigned to QBE                        in Portsmouth NH on                       Neuropsychologist                        syncopal episode while          LM, citing reason as
  position of Ul Developer       from those on Ul                           project in Dover, NH;                        eClalms; new project is                   sends 1*’ of 3 faxes                     working from home               "Performance"(due
  80596 with resume              Developer Job Desc.; LM                    re-transferred then to                       ended after 1-2 weeks;                    sent out over 5—                         during a bout with              to impairment),
  clearly suitable for job       offers OR 1 week of paid                   Portsmouth NH; on                            GR & new team                         month period                                 acute Norovirus and is          having failed to
  description (See “Request      training to learn to be a                  new team, GR is                          reassigned to another                     (Aug/Oct/Dec),                               transported to York             extend 1.)
  to Appeal Finding of'No        React.js Developer...                      expected to learn                        new project called                        requesting individual                        Hospital by ambulance;          reasonable
  Probable Cause                 Performance improves,                      Gherkin/Cucumber;                        "Customer First"                          training (requested                          3 to 5 days of work are         acrommodof/ons
 (RAFNPC) Brief, Exhibit         but plans are soon made                    after 3 or 4 paired                          requiring knowiedge of                by GR to ADA Dept,                           missed during 30-dav            2.)equitable
 IV, pp 23-25.                   to transfer entire dept.                   sessions, QBE is ended.                      Java programming.                     via phone) ●                                 hands-on training.              treatment
                                                                                                                                            A                             A
                                                                                                                                                                                * Starting Au|S, 2018, ADA asklClft'innw manager
                                                                                                                                                                                aboutaddlUonallnlrting/coacWngopaom. New
                                     Impact c Customer Centric                 No apparel team or project, other                                                                Manager's written response, Aug8 '..(denlcxpeetto
                                    Agile Oevt opmenl 'Lift & Shift'            thart one I ackachon Project, etc.                    Custori }i First Project (CFA)
                                                                                                                                                                                hovt ts(eodi hkn ttow to cedr-.'. per Ptrtomtlfile
                                                         ●Extttr, NH                              ●Portsmouth, NH                ●Portsmoutt. NH, Exetor NH, Dovtr, NH
                                                                                                                                                                                {alsomesKesw/vcrbalanswer.I.e. 'nocontinuoui

                                                                                                 A                                  r                                           hands<n training* for role); In November,1 more week
                                                                                                                                                                                el lava dess training b allowed - but no longerl                     1
       ©—a—i
        2017                                                                                         2018
                                                                                                                     I
                                                                                                                                                      CfA     transferred out oIuSCMIT to GRM
                                                                                                                                                                                              J
                                                                                                                                                                                                     2019
                                                    Quote, Bind, Er lorse, a,k.a. 'QBE'
Corey Jordan-Rutiedge v.                                  (Surtset I Fall, 2017)                       Brief eClalms project   ended within weeks                   '* Ott latwa<> It, 2019, Performance Review tor 20ir
                                                                                                                               -Portsmouth, NH                      Is discussed; performance Oegreded tignincanlhi,
    Liberty Mutual                                     -Dover, NH ■ Portsmouth, NH
                                                                                                                                                                    compared to previous Ye*r. *s several criterta used in
                                                                                                                                                                    text of Performance Review were dlrectfy linked to
                                                                                                                                                               I    charactirMIcsotanimpelrmentofwhlchiMhedbeen
219-2022-CV-00008
                                                                                                                                                               I    made aware at least six months prior, during wMch
   Timeline of Events                                                                                                                                       . rj    time tuffklent aceommoditlons were not eranied.


            March 13,2017-                      July/Aug 2017-DR's Ul-                       Jan/Feb 2018-GR,                              April-Juiy 2018 - GR is                          Jan 18-30,2019-                            March 13,2019
            Respondent/Defendant                role of learning to be a                     along w/ many other                           allowed 1-week of paid                           Following Performance
            (LM) extends GR position            React.js Developer is                        employees await                                                                                                                           GR's father suffers
                                                                                                                                           Java training; meanwhile,                        Review for 2018**, after at
            of Ul Developer 80596... in         "lifted and shifted" from                    reassignment after QBE                        others in USCMIT Digital                         least 3 faxes and significant              mild stroke during a
            LM USCMIT DIGITAL &                 Exeter, NH to Boston, MA                     {sunset/retired in roughly                    & Dist. are allowed to                           time on the phone during                   ski-trip, necessitating
            DISTRIBUTION DEPT; offer            (along with many other                       October and/or early                          attend paid training in                          workday hours over many                    early departure from
            is accepted; however, job           roles in dept.); GR (along                   November 2017); other                         Java for 3 months (or                            months (5+), original                      work, curtailing
            code and title appear               with other employees)                        than 1 hackathon held in                      longer); GR is informed                          "accommodation" of paired                  "hands-on training"
            "switched" to 80594                 are offered possibility of                   November 2017, unclear                        in lateJune/earlyJuJy/ie                         programming requested (i.e.                in progress; due to
            Software Developer in               keeping role on existing                     what work is left for CJR                                                                                                                 illnesses of other
                                                                                                                                           will be expected to learn                        "hands-on training") is at
            electronic offer; please            project, provided                            (and others) in USCMIT                                                                                                                    team members
                                                                                                                                           [JAVA] quickly, and that                         last granted for 30 days.
            refer to (RAFNPC) Brief,            physically relocating to                     DIGITAL & DISTRIBUTION                        learning quickly will now                        (NOTE: this - along with                   (coupled with GR's
            Exhibit I, pp. 14-17.               Boston, however, OR is                       Dept. Final Performance                       be necessary to be                               extra time to complete tasks               hospitalization and
                                                unable, having only                          Review for 2017 (also                         successful (never listed as                                                                 father's health
                                                                                                                                                                                            - hadn't been granted for
            ●GR Never Submitted                                                                                                            requirement for any                                                                         emergency), only five
                                                recently relocated to                        early 2018?) is 1 point                                                                        previous 5-6 months,
            Resume and/or Cover                 ME/NH Seacoast from                                                                                                                                                                    or six "hands-on"
                                                                                             less than satisfactory, but                   role!): in parallel, GR Is                       though as early as early as
            letter intended for role of                                                                                                                                                                                                training sessions take
                                                Greater Boston Area; GR,                     LM acknowledges                               diagnosed with a                                 April 2018, this was not only
            Software Developer,                 and others are informed                      “...several team and                                                                                                                      place within the 30
                                                                                                                                           Language/Leaming                                 allowed, however, standard
            and/or React.js Developer*          to keep employment,                          technology changes took                       Impairment (already                                                                         (thirty) days of
                                                                                                                                                                                            and seemingly mandatory
                                                retraining on a new team                     place over the course of                                                                       for Glen - another member                  expected training.
                                                                                                                                           diagnosed with ADHD in
                                                and reassignment to new                      2017...“, making GR's                         the 1990s); GR notifies                          on GR's team that
 Statement of Claim - Timeline                  project will be necessary.                   onboarding challenging;                       aporooriate channels: Job                        physically worked alongside
                                                                                             see (RAFNPC) Brief,                           is transferred to GRM US                         him on same code project
                                                                                             Exhibit VIII, pp. 40-41.                      Dept, (along w/ team).                           during same work hours,)
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Enclosure with EEOC Notice ofClosiue and Rights(01/22)




                              Information Related to Filing Suit
                             Under the Laws Enforced by the EEOC
  (This information relates tofiling suit in Federal or State court under Federal law. Ifyou also
 plan to sue claiming violations ofState law, please be aware that time limits may be shorter and
            other provisions ofState law may be different than those described below.)

Important Time Limits-90 Daysto file a Lawsuit

If you choose to file a lawsuit against the respondent(s) named in the charge of discrimination,
you must file a complaint in court within 90 days of the date you receive this Notice. Receipt
generally means the date when you (or your representative)opened this email or mail. You should
keep a record of the date you received this notice. Once this 90-day period has passed, your
right to sue based on the charge referred to in this Notice will be lost. If you intend to consult an
attorney, you should do so promptly. Give your attorney a copy ofthis Notice, and the record of
your receiving it (email or envelope).
If your lawsuit includes a claim under the Equal Pay Act (EPA), you must file your complaint
in court within 2 years(3 years for willful violations) of the date you did not receive equal pay.
This time limit for filing an EPA lawsuit is separate from the 90-day filing period under Title
VII, the ADA, GINA or the ADEA referred to above. Therefore, if you also plan to sue under
Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA claim, your lawsuit
must be filed within 90 days of this Notice and within the 2- or 3-year EPA period.
Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction.
Whether you file in Federal or State court is a matter for you to decide after talking to your
attorney. You must file a "complaint" that contains a short statement of the facts of your case
which shows that you are entitled to relief. Filing this Notice is not enough. For more information
about filing a lawsuit, go to https:/Av\\\\.eeoc.uov/emDlovees/la\\suit.cfm.
Attorney Representation

For information about locating an attorney to represent you, go to:
htlr>s://\N u\\.eeoc.uo\/emplovees/la\vsuit.cfm.

In very limited circumstances, a U.S. District Court may appoint an attorney to represent individuals
who demonstrate that they are financially unable to afford an attorney.

How to Request Your Charge File and 90-Day Time Limit for Requests

There are two ways to request a charge file: I)a FOIA Request or 2)a Section 83 request. You may
request your charge file under either or both procedures. EEOC can generally respond to Section 83
requests more promptly than FOIA requests.
Since a lawsuit must be filed within 90 days ofthis notice, please submit your request for the charge
file promptly to allow sufficient time for EEOC to respond and for your review. Submit a signed
written request stating it is a “FOIA Request" or a “Section 83 Request” for Charge Number 16D-
2019-00307 to the District Director at Judy Keenan,33 Whitehall St 5th Floor
New York, NY 10004.

You can also make a FOIA request online at httpsiA^eeoc.arkcase.comToia/portal.-locin.
     Case 1:22-cv-00457-SE Document 1 Filed 11/03/22 Page 11 of 13




        U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                   New York District OfTicc
                                                                                   33 Whitehall St. 5th Roor
                                                                                       New York. NY 10004
                                                                                            (929)506-5270
                                                                                    Website: W'w w eeoc ih>\


                  DETERMINATION AND NOTICE OF RIGHTS
                       (This Notice replaces EEOC FORMS 161 & 161-A)

                                       Issued On:08/08/2022
To: Corey Jordan-Rutledge
    32 Cromwell St.
     Kittery, ME 03904




Charge No: 16D-2019-00307

EEOC Representative and email:       Amon Kinsey
                                     Supervisory Investigator
                                     amon.kinsey@eeoc.gov


                               DETERMINATION OF CHARGE

The EEOC issues the following determination: The EEOC will not proceed further with its
investigation and makes no determination about whether further investigation would establish
violations ofthe statute. This does not mean the claims have no merit. This determination does not
certify that the respondent is in compliance with the statutes. The EEOC makes no finding as to
the merits of any other issues that might be construed as having been raised by this charge.

                             NOTICE OF YOUR RIGHT TO SUE

This is ofTicial notice from the EEOC ofthe dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) view this document. You
should keep a record of the date you received this notice. Your right to sue based on this charge
will be lost if you do not file a lawsuit in court within 90 days.(The time limit for filing a lawsuit
based on a claim under state law may be different.)

If you file a lawsuit based on this charge, please sign-in to the EEOC Public Portal and upload the
court complaint to charge 16D-2019-00307.

                                              On behalf ofthe Commission,

                                              Digitally Signed By Judy Keenan
                                              08/08/2022
                                              Judy Keenan
                                              District Director
      Case 1:22-cv-00457-SE Document 1 Filed 11/03/22 Page 12 of 13




Enclosure with EEOC Notice of Closure and Rights <01/22)




You may request the charge file up to 90 days after receiving this Notice of Right to Sue. After the
90 days have passed, you may request the charge file only if you have filed a lawsuit in court and
provide a copy ofthe court complaint to EEOC.
For more information on submitting FOIA Requests and Section 83 Requests, go to:
hlt^s://\^\vw.ecoc■L>ov/ccoc/foia/^ndex.c^m.

     Notice Of Rights Under The ADA Amendments Act OF 2008 (ADAAA)
The ADA was amended, effective January 1,2009, to broaden the definitions of disability to make
it easier for individuals to be covered under the ADA/ADAAA. A disability is still defined as (1)
a physical or mental impairment that substantially limits one or more major life activities (actual
disability); (2) a record of a substantially limiting impairment; or (3) being regarded as having a
disability. However, these terms are redefined, and it is easier to be covered under the new law.
If you plan to retain an attorney to assist you with your ADA claim, we recommend that you share
this information with your attorney and suggest that he or she consult the amended regulations and
appendix, and other ADA related publications, available at
hUp://\v\vu.ceoc.iiov''{a\\v’tvnes/disabiiilv rcuulations.cfm.

“Actual” disability or a “record of” a disability
If you are pursuing a failure to accommodate claim you must meet the standards for either “actual”
or “record of’ a disability:
          The limitations from the impairment no longer must be severe or significant for the
          impairment to be considered substantially limiting.
     ✓ In addition to activities such as performing manual tasks, walking, seeing, hearing,
       speaking, breathing, learning, thinking, concentrating, reading, bending, and
       communicating (more examples at 29 C.F.R. § 1630.2(i)), “major life activities” now
       include the operation of major bodily functions, such as: functions of the immune
       system, special sense organs and skin; normal cell growth; and digestive, genitourinary,
       bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,
       hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an
       individual organ within a body system.
     ✓ Only one major life activity need be substantially limited.

          Except for ordinary eyeglasses or contact lenses, the beneficial effects of “mitigating
          measures” (e.g., hearing aid, prosthesis, medication, therapy, behavioral modifications)
          are not considered in determining if the impairment substantially limits a major life
          activity.
     ✓ An impairment that is “episodic” (e.g., epilepsy, depression, multiple sclerosis) or “in
       remission” (e.g., cancer) is a disability if it would be substantially limiting when active.
     ✓ An impairment may be substantially limiting even though it lasts or is expected to last
          fewer than six months.
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Enclosure with EEOC Notice of Closure and Rights(01/22)




“Regarded as” coverage
An individual can meet the definition of disability if an employment action was taken because
of an actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary
leave, termination, exclusion for failure to meet a qualification standard, harassment, or denial of
any other term, condition, or privilege of employment).
    ✓
        “Regarded as” coverage under the ADAAA no longer requires that an impairment be
        substantially limiting, or that the employer perceives the impairment to be substantially
        limiting.
     ✓    The employer has a defense against a “regarded as” claim only when the impairment at
          issue is objectively both transitory (lasting or expected to last six months or less) and
          minor.

          A person is not able to bring a failure to accommodate claim if the individual is covered
          only under the “regarded as” definition of“disability”.
Note: Although the amended ADA states that the definition of disability “shall be construed
broadly” and “should not demand extensive analysis," some courts require specificity in the
complaint explaining how an impairment substantially limits a major life activity or whatfacts
indicate the challenged employment action was because of the impairment. Beyond the initial
pleading stage, some courts will require specific evidence to establish disability. For
moreinformation, consult the amended regulations and appendix, as well as explanatory
publications, available at http:/Av\v\v.ecoc.uo\/la\vs/tvoes/disabilitv rekiulations.cfin.
